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                     EXHIBIT 9
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                               AMENDMENT TO ACCOUNT CONTROL AGREEMENT


                    This Amendment to the Account Control Agreement (this “Amendment”), is entered into
            as of January 13, 2025 by and among CITIBANK, N.A. (in such capacity, the “Bank”), UNITED
            STATES ENVIRONMENTAL PROTECTION AGENCY (the “Secured Party”), and CLIMATE
            UNITED FUND (the “Pledgor” and together with Bank and Secured Party, collectively, the
            “Parties”).

                                                         R E C I T A L S:

                    A.     Reference is made to that certain Account Control Agreement, dated as of
            November 1, 2024 (as amended from time to time, the “ACA”) by and among the Bank, the
            Secured Party and the Pledgor. Capitalized terms used herein and not otherwise defined herein
            shall have the meaning given to such terms in the ACA.

                     B.      The Parties desire to amend the ACA as set forth herein.

                   NOW, THEREFORE, in consideration of the premises, the mutual covenants herein
            contained and other good and valuable consideration, the receipt and sufficiency of which are
            hereby acknowledged, the Parties hereby agree as follows:

            1) Amendments to ACA. The ACA is hereby amended as follows:

                 a) Section 2 is amended by adding the following proviso to the end of such section:

                     “; provided that notwithstanding the foregoing, after the delivery of a Notice of Exclusive
                     Control, Bank shall continue to disburse funds and financial assets associated with financial
                     obligations “properly incurred” by the Pledgor prior to the issuance of, but not in
                     anticipation of, a delivery of a Notice of Exclusive Control, in Pledgor’s “Reserve”
                     Account pursuant to Account Directions originated by Pledgor except for any specific
                     funds or financial assets, identified by Secured Party in the applicable Notice of Exclusive
                     Control as not being “properly incurred” by the Pledgor in accordance with 2 CFR
                     200.343.”

                 b) Exhibit A (Notice of Exclusive Control) of the ACA is hereby amended and restated in the
                    form attached to this Amendment as Exhibit A.

                 c) Exhibit B (Form of Account Direction (NCIF) of the ACA is hereby amended and restated
                    in the form attached to this Amendment as Exhibit B.

            2) Counterparts. This Amendment may be executed in several counterparts, each of which shall
               be deemed an original, and all of which together shall constitute one and the same document.
               Signatures transmitted by facsimile or e-mail shall be sufficient to bind the Parties to this
               Amendment.

            3) Ratification. The Parties acknowledge that in all other respects, the provisions of the ACA are
               hereby reaffirmed and ratified, and shall remain in full force and effect.
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            4) Conflict. The Parties agree that in the event of a conflict between the terms and conditions of
               this Amendment and the ACA (as may have been amended by any prior amendment), the terms
               and conditions of this Amendment shall govern.



                             [Remainder of Page Intentionally Blank; Signature Pages to Follow]
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                    IN WITNESS WHEREOF, the Parties hereto have executed this Amendment in their
            respective signatures, intending that this Amendment shall become effective as of the date first
            above written.


                                                         CLIMATE UNITED FUND


                                                         By:
                                                         Name: Elizabeth Bafford
                                                         Title: CEO




                                      [Signature Page to Amendment to Account Control Agreement]
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                                                         CITIBANK, N.A.


                                                         By:
                                                         Name: Nerlie Delly
                                                         Title: Senior Trust Officer




                                      [Signature Page to Amendment to Account Control Agreement]
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                                                         UNITED STATES ENVIRONMENTAL
                                                         PROTECTION AGENCY


                                                         By:
                                                         Name: Phillip K Schindel
                                                         Title: Acting Dir, Grants Mgmt & Business Ops Division




                                      [Signature Page to Amendment to Account Control Agreement]
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                                                              EXHIBIT A

                                     FORM OF NOTICE OF EXCLUSIVE CONTROL

                 VIA EMAIL:

                 Nerlie Delly
                 Vice President
                 Citibank, N.A.
                 Agency & Trust
                 388 Greenwich Street
                 New York, New York 10013
                 [Re. Account # [●]]

                 Pursuant to the Account Control Agreement dated November 1, 2024, among Climate
                 United Fund (the “Pledgor”), United States Environmental Protection Agency (the
                 “Secured Party”), and Citibank, N.A. (the “Bank”), we hereby instruct you of the
                 following:

                 The Pledgor and the Secured Party have agreed that the terms and conditions entitled
                 “Deposit Account at Financial Agent” in the Grant Agreement indicate the conditions
                 under which the Secured Party may exercise its right of control herein, and such conditions
                 will be defined as “default” for the purposes of the Account Control Agreement.

                 As required by the Grant Agreement, the Secured Party has issued a written determination
                 and finding that Pledgor has failed to comply with the terms and conditions of the Grant
                 Agreement, and that noncompliance is substantial such that effective performance of the
                 Grant Agreement is Materially Impaired or there is adequate evidence of Waste, Fraud, or
                 Abuse (as defined in the Grant Agreement) or material misrepresentation of eligibility
                 status, and that the Secured Party has initiated action under 2 CFR 200.339 to wholly or
                 partly suspend or terminate the Grant Agreement, as authorized in the terms of the Grant
                 Agreement.

                 Therefore, the Secured Party hereby notifies you that (i) a default has occurred and is
                 continuing under the Grant Agreement and (ii) from and after the receipt of this notice until
                 you receive further instruction from Secured Party, you are hereby directed to retain and
                 hold all funds in the Account or Accounts named in this Notice and not to [invest or]
                 disburse the same to any party whatsoever, other than as instructed by the Secured Party.
                 Notwithstanding the foregoing, Bank shall continue to disburse funds in Pledgor’s
                 “Reserve” Account pursuant to Account Directions originated by Pledgor [except for $[ ]
                 in Account No. [        ], identified by Secured Party in the written determination and
                 finding, that Secured Party has determined was not “properly incurred” by the Pledgor in
                 accordance with 2 CFR 200.343].


                                                             United States Environmental Protection Agency


                                                               Exhibit A
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                                                                 as Secured Party


                                                                 By:
                                                                     Name:
                                                                     Title:
                                                                     Date:




                                                             Exhibit A
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                                                             EXHIBIT B

                                          FORM OF ACCOUNT DIRECTION (NCIF)

                                         Pledgor’s UEI Number:


            [Date]

            Citibank, N.A.
            Agency & Trust
            388 Greenwich Street
            New York, NY 10013
            Attn.:Nerlie Delly
            E-mail:

            VIA: CitiSFT

            RE: Account Control Agreement dated November 1, 2024, among Climate United Fund (the
            “Pledgor”), United States Environmental Protection Agency (the “Secured Party”), and Citibank,
            N.A. (the “Bank”)

            Pursuant to Section 2 of the above referenced Account Control Agreement, the Pledgor hereby
            instructs the Bank to disburse a total amount of $[●] funds as per below and as per the attached
            upload file named xxx:

            Check applicable boxes:

            ( ) Internal Transfer within the Bank (intra-entity).

            ( ) Internal Transfer within the Bank (inter-entity).

            ( ) External Transfer outside the Bank (for Predevelopment Activities, Market-Building
            Activities, and/or Program Administration Activities).

            ( ) External Transfer outside the Bank (for Financial Assistance Activities).

            If an Internal Transfer within the Bank (intra-entity), check the following applicable
            boxes:

            ( ) Transfer of $[●] across Pledgor’s ‘Budget’ sub-accounts, as defined in the Grant
            Agreement.

            ( ) Transfer of $[●] from Pledgor’s ‘Program Income from Operations’ account to
            Pledgor’s ‘Budget’ sub-account(s), as defined in the Grant Agreement.
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            ( ) Transfer of $[●] from Pledgor’s ‘Reserve’ account to Pledgor’s ‘Program Income from
            Operations’ account, as defined in the Grant Agreement.

            ( ) Transfer of $[●] from Pledgor’s ‘Budget’ sub-account(s) or ‘Program Income from
            Operations’ account to ‘Reserve’ account, as defined in the Grant Agreement. The Pledgor
            hereby certifies to Secured Party the following in respect of this transfer:

            “The amount of this expenditure is necessary to execute against the workplan in effect under the
            Grant Agreement. Financing agreements for identified Qualified Projects necessitating the
            transfer have been reviewed by Recipient’s counsel for legal sufficiency. This certification is a
            material representation for the purposes of an EPA Financial Assistance Agreement and
            knowing and willful false statements may be subject to prosecution under 18 U.S.C. 1001 and
            other applicable criminal, civil and administrative sanctions”

            If an Internal Transfer within the Bank (inter-entity), check the following applicable boxes:

            ( ) Transfer of $[●] from Pledgor’s ‘Budget’ sub-account(s) to ‘Financial Assistance
            Subrecipient’ as defined in the Grant Agreement.

            If an External Transfer outside the Bank (for Predevelopment Activities, Market-Building
            Activities, and/or Program Administration Activities), check one of the following boxes:

            ( ) Disbursement of $[●] for Predevelopment Activities as defined in the Grant Agreement.

            ( ) Disbursement of $[●] for Market-Building Activities as defined in the Grant Agreement.

            ( ) Disbursement of $[●] for Program Administration Activities as defined in the Grant
            Agreement.

            If an External Transfer outside the Bank (for Financial Assistance Activities), check the
            following applicable boxes:

            ( ) Disbursement of $[●] from Pledgor’s ‘Budget’ sub-account to provide Financial
            Assistance to Qualified Projects as defined in the Grant Agreement. The Pledgor hereby
            certifies to Secured Party the following in respect of this transfer:

            “The amount of this expenditure is necessary to execute against the workplan in effect under the
            Grant Agreement. Financing agreements for identified Qualified Projects necessitating the
            transfer have been reviewed by Recipient’s counsel for legal sufficiency. This certification is a
            material representation for the purposes of an EPA Financial Assistance Agreement and
            knowing and willful false statements may be subject to prosecution under 18 U.S.C. 1001 and
            other applicable criminal, civil and administrative sanctions”

            ( ) Disbursement of $[●] from Pledgor’s ‘Reserve’ account to satisfy a legal obligation to a
            third party as defined in the Grant Agreement. The Pledgor hereby certifies to Secured
            Party the following in respect of this transfer:
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            “The amount of this transfer is necessary to execute against the workplan in effect under the
            Grant Agreement and pay a third party pursuant to a financing agreement that has been
            reviewed by Recipient’s counsel for legal sufficiency. This certification is a material
            representation for the purposes of an EPA Financial Assistance Agreement and knowing and
            willful false statements may be subject to prosecution under 18 U.S.C. 1001 and other applicable
            criminal, civil and administrative sanctions”

            Capitalized terms in this instruction letter not otherwise defined shall have the same meaning
            given to them in the Account Control Agreement.

            Signature on this Account Direction executed and delivered in electronic format (i.e. “pdf”) or by
            other electronic means (including DocuSign) shall be deemed original signatures with all rights
            accruing thereto.

            IN WITNESS WHEREOF, the Pledgor has caused this Account Direction to be duly executed
            and delivered as of the date first written above.

            Pledgor:


            __________________

            Authorized Person
